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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY

  ZACK KAPLAN, BEN KAPLAN,
  MICHAEL KAPLAN, ELI KAPLAN,
  and MICHAEL MAZZOTTA,
  Individually and on Behalf of
  Themselves and All Others Similarly
  Situated,

                       Plaintiffs,                  No. 2:22-CV-04560-SDW-ESK
           v.
                                                          DECLARATION OF
  ALEXANDER MASHINSKY,                                 SERVICE IN CONNECTION
  SHLOMI “DANIEL” LEON,                                   WITH MOTION TO
  HANOCH GOLDSTEIN, HARUMI                             WITHDRAW APPEARANCE
  URATA-THOMPSON, JEREMIE
  BEAUDRY, KRISTINE
  MASHINSKY, AM VENTURES
  HOLDING, INC., KOALA1 LLC, and
  WINTERMUTE TRADING LTD.,

                       Defendants.


       Jonathan Ohring, Esq. makes the following declaration pursuant to 28 U.S.C.

 § 1746:

       1.       I am a Counsel with the law firm Yankwitt LLP (the “Firm”), attorneys

 for defendants Alexander Mashinsky, AM Ventures Holding, Inc., and Koala1 LLC

 (“Defendants”) in the above-captioned case. I am the Firm’s counsel of record in

 this matter. As such, I am fully familiar with all the prior facts and circumstances

 herein.
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       2.     I submit this Declaration in support of the motion to withdraw my

 appearance for Defendants (Dkt. No. 91) (the “Motion”).

       3.     The undersigned filed the Motion on December 22, 2023, together with

 a declaration in support.

       4.     On December 27, 2023, the Court entered an order on the Motion (Dkt.

 No. 94) (the “Order”), scheduling a telephonic hearing on the Motion on January 25,

 2024 at 10:30am, at which Defendants are required to appear, and setting January

 10, 2024 as the deadline for any opposition to the Motion.

       5.     The Order required the undersigned to “provide the Mashinsky

 Defendants by e-mail, regular mail, and certified mail - return receipt requested with:

 (1) notice of the date, time, and dial-in information of the hearing; (2) the briefing

 schedule on the motion; (3) the opportunity to email and mail responses to the

 Mashinksy Defendants’ counsel, which the Mashinksy Defendants’ counsel is to

 then file on the docket; and (4) a copy of this text order.”

       6.     The Order required the undersigned to file proof of service of the

 aforementioned notices on the Defendants.

       7.     The undersigned hereby declares that on December 29, 2023, the Firm

 sent the aforementioned notices to Defendants by e-mail, regular mail, and certified

 mail – return receipt requested. The same day, the undersigned received an e-mail

 response from Mr. Mashinsky confirming that he would join the January 25



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 telephonic hearing. In addition, on January 4, 2024, the Firm received confirmation

 from the U.S. Postal Service that the mailing had been delivered to Defendants’

 address on January 2, 2024.

       8.    Service on Defendants has therefore been completed.

       9.    The January 10, 2024 deadline for the filing of any opposition to the

 Motion has passed. No opposition has been filed, and the undersigned did not

 receive any response to the Motion from the Defendants.

       10.   Accordingly, the undersigned respectfully requests issuance of an order

 withdrawing the undersigned’s appearance as counsel for Defendants.

 Dated: January 11, 2024
        White Plains, New York


                                             _______________________
                                             Jonathan Ohring




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